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 8                              IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                      Cr. S- 07-360 EJG
11 UNITED STATES OF AMERICA,
                                                      ORDER TO CONTINUE
12                        Plaintiff,                  STATUS CONFERENCE
13         vs.                                        Date: 3-14-08
                                                      Time: 10:00 a.m.
14 GUSTAVO MONTES-VASQUEZ and                         Judge: Hon. Edward J. Garcia
   BENJAMIN LOZANO-ROSAS
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                 Defendants.
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18           GOOD CAUSE APPEARING, it is hereby ORDERED that the status conference currently
19   scheduled on February 8, 2008, is hereby continued to March 14, 2008, at 10:00 a.m. Time shall be
     excluded from the Speedy Trial Act calculation from February 8, 2008, through March 14, 2008, the date
20   of the new status conference, pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 in order to
21   give counsel for defendant reasonable time to prepare.
22   IT IS SO ORDERED
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23   Dated:      February 5, 2008                 /s/ Edward J. Garcia
                                                  Judge
24                                                United States District Court
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